Case: 2:07-cv-00134-DLB Doc #: 46 Filed: 06/30/08 Page: 1 of 1 - Page ID#: 162




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                  UNITED STATES FEDERAL DISTRICT COURT
                    DISTRICT OF COVINGTON KENTUCKY


  LOUISIANA COUNSELING                                *           CIVIL ACTION NO.
  AND FAMILY SERVICES,
  LCFS ACCESS TO ALL,                                 *            2:07-cv-134
  LCFS COUNSELING, and
  JEFFREY THORNTON, Individually                      *
          Plaintiffs
              v. Defendants                          *
  SKYLINE CHILI RESTAURANT.
  WAFFLE HOUSE,
  RIVERFRONT PIZZA AND
   JOHN DOE SHOPPING CENTER OWNER
  OF ABOVE NAMED STORES
  * ***** ***** *** **** ***** ******* *** ***** ****** ***

                    PARTIAL AGREED ORDER OF DISMISSAL


  By agreement of the Plaintiffs and Defendant Westside Development
  Corporation, heretofore named as John Doe Shopping Center Owner, it is hereby
  ordered that all claims against Westside Development Corporation are hereby



       Q"c/f-..  /'
  This ~ day of ,'jVtw2;2008


                                                    Hon. David L. Bunning
                                                    United States District Judge
  lsi Jonathan Bruce
  Jonathan Bruce (89605)
  300 Madison Avenue, Suite 200
  Covington, KY 41011
  859-431-5297

  James W. Lippert
  James W. Lippert
  Brown, Lippert & Laite
  Suite 640 Cincinnati Club Building
  30 Garfield Place
  Cincinnati, OH 45202
